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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                         CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                     §
     Plaintiff,                               §
                                              §
V.                                            §          CR. No. C-08-318 (17)
                                              §          C.A. No. C-10-108
CHRISTINA GUEVARA CARDENAS,                   §
     Defendant.                               §

                    MEMORANDUM OPINION AND ORDER
                      DISMISSING MOTION TO VACATE,
                   SET ASIDE OR CORRECT SENTENCE, AND
                  DENYING CERTIFICATE OF APPEALABILITY

       Pending before the Court is Christine Guevara Cardenas’ (“Cardenas”) motion to

vacate, set aside or correct her sentence pursuant to 28 U.S.C. § 2255. (D.E. 750.) The

Court concludes that it is not necessary to order a government response because “it plainly

appears from the motion, any attached exhibits, and the record of prior proceedings that the

moving party is not entitled to relief.” Rule 4(b) of the RULES GOVERNING SECTION 2255

PROCEEDINGS FOR THE UNITED STATES DISTRICT COURTS. As discussed in more detail

herein, the Court dismisses Cardenas’ § 2255 motion because she validly waived her right

to file the claims raised therein. Cf. United States v. Del Toro-Alejandre, 489 F.3d 721 (5th

Cir. 2007) (affirming this Court’s sua sponte dismissal of a § 2255 motion based on a valid

waiver, rather than requiring a government response). Additionally, the Court denies

Cardenas a Certificate of Appealability.

                                   I. JURISDICTION

        The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331.


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                               II. FACTS AND PROCEEDINGS

       Cardenas was one of eighteen defendants charged in an eighth superseding indictment

on August 26, 2008.1 The case involved a ten-year long conspiracy to traffic multi-ton

quantities of marijuana and multi-hundred kilogram quantities of cocaine from Mexico to

various locations into the United States. Cardenas participated by transporting drug proceeds

from locations north to the Rio Grande Valley, delivering payments in U.S. currency to

others involved in the conspiracy and counting U.S. currency for the two leaders of the

conspiracy, who were also her mother and step-father. According to the PSR, Cardenas

assisted in the successful transportation and delivery of at least $2.9 million, in addition to

$130,000 seized from her on February 19, 2003. (PSR at ¶ 63.)

       Cardenas pleaded guilty to Count Nine of the indictment, which charged her and co-

defendants with conspiracy to engage in money laundering involving the proceeds of an

unlawful activity, that is, the distribution of controlled substances. Her plea was pursuant

to a written plea agreement. (D.E. 378; 379.) In exchange for her guilty plea and her waiver

of appellate and § 2255 rights (discussed below), the government agreed to recommend that

she receive the maximum credit for acceptance of responsibility and to recommend a

sentence at the lowest end of the applicable guideline range. (D.E. 379 at ¶¶ 1-2.)

       The plea agreement contained a voluntary waiver of Cardenas’ right to appeal and to

file a § 2255 motion:

                 Defendant waives his/her right to appeal both the conviction and
                 the sentence imposed. Defendant is aware that Title 18 U.S.C.


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           The facts of the offense are taken from Cardenas’ Presentence Investigation Report (“PSR).

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              §3742 affords a defendant the right to appeal the sentence
              imposed. The defendant waives the right to appeal the sentence
              imposed or the manner in which it was determined. The
              defendant may appeal only (a) a sentence imposed above the
              statutory maximum; or (b) an upward departure from the
              Sentencing Guidelines which had not been requested by the
              United States, as set forth in 18 U.S.C. § 3742(b). Additionally,
              the defendant is aware that Title 28, U.S.C. §2255, affords the
              right to contest or “collaterally attach” [sic] a conviction or
              sentence after the conviction or sentence has become final. The
              defendant waives the right to contest his/her conviction or
              sentence by means of any post-conviction proceeding.

(D.E. 379 at ¶ 7 (emphasis in original).) The agreement was signed by Cardenas and her

counsel. (D.E. 379 at 5.)

       At Cardenas’ rearraignment, Cardenas was shown a copy of her agreement. She

testified that the agreement was hers, that she had read it and discussed it with her attorney,

that she understood it, and that she had signed it. (R. Rec. at 3:41-3:42.)

       The Court also questioned Cardenas under oath to ensure that her plea was voluntary

and knowing and to ensure that she understood and was voluntarily relinquishing her appeal

rights and right to file a § 2255 motion. The Court specifically admonished Cardenas

concerning her § 2255 waiver:

              THE COURT: Because of page three, paragraph seven, the
              words that I pronounce on your sentence will in fact be the final
              words of your sentence. That is because, at paragraph seven,
              each of you is surrendering your right to appeal your conviction
              and your sentence except in limited circumstances and you are
              giving up your right to file any petition to challenge or modify
              or vacate your conviction or sentence even after it has become
              final. That is part of this agreement. Did you want to give up
              those rights ... Ms. Cardenas?




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                THE DEFENDANT: Yes, Your Honor.

(R. Rec. at 3:45-3:46.) She later told the Court she understood the matters the Court had

discussed with her regarding her plea agreement. (R. Rec. at 3:50.)

       Cardenas testified that no one had promised her what her sentence would be. (R. Rec.

at 3:51-3:52.) She also testified that no one had threatened her or forced her to plead guilty

and that no one had promised her leniency in exchange for her guilty plea, and that it was her

decision to plead guilty. (R. Rec. at 3:37-3:38.) She further testified that she was pleading

guilty because she was guilty. (R. Rec. at 3:39.)

          It is clear from the foregoing that Cardenas’ waiver was knowing and voluntary. See

Fed. R. Crim. P. 11(b)(1)(N) (obligating court to ensure defendant understands any waiver

of § 2255 rights and appellate rights prior to accepting his plea).

       The Court sentenced Cardenas on May 7, 2009 to 87 months in the custody of the

Bureau of Prisons, to be followed by a three-year term of supervised release, and also

imposed a $100 special assessment. (D.E. 599, 605.) Judgment of conviction and sentence

was entered May 15, 2009. (D.E. 605.)

       Consistent with her waiver of appellate rights, Cardenas did not appeal. The instant

§ 2255 motion was received by the Clerk of this Court on April 13, 2010. (D.E. 750.) It is

timely.

                             III. MOVANT’S ALLEGATIONS

       In her motion, Cardenas lists one ground for relief, but the ground contains three

claims, all of which are ineffective assistance of counsel claims. First, she alleges that her

counsel “failed to argue sentencing issues that may have resulted in a lower sentence.” (D.E.

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750 at 4.) Second, she claims that her sentencing counsel failed to argue for a reduction

based on Cardenas’ minor role in the offense. (Id.) Third, she claims that her counsel failed

to properly investigate, participate in, and prepare for Cardenas’ sentencing. (Id.) She

provides no additional facts or details in support of any of her claims.2

                                        IV. DISCUSSION

A.     28 U.S.C. § 2255

       There are four cognizable grounds upon which a federal prisoner may move to vacate,

set aside or correct his sentence: (1) constitutional issues, (2) challenges to the district court’s

jurisdiction to impose the sentence, (3) challenges to the length of a sentence in excess of the

statutory maximum, and (4) claims that the sentence is otherwise subject to collateral attack.

28 U.S.C. § 2255; United States v. Placente, 81 F.3d 555, 558 (5th Cir. 1996). “Relief under

28 U.S.C. § 2255 is reserved for transgressions of constitutional rights and for a narrow range

of injuries that could not have been raised on direct appeal and would, if condoned, result in

a complete miscarriage of justice.” United States v. Vaughn, 955 F.2d 367, 368 (5th Cir.

1992). “[A] collateral challenge may not do service for an appeal.” United States v. Frady,

456 U.S. 152, 165 (1982).

B.     Waiver of § 2255 Rights

       Cardenas’ claims are not properly before the Court because she waived the right to


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          Although she does not list it as a separate ground for relief, in response to a form question
about whether or not certain issues were raised on appeal or in a post-conviction proceeding,
Cardenas states that her counsel failed to timely file a notice of appeal on her behalf. (D.E. 750 at
4.) Nowhere does she allege, however, that she ever asked or directed counsel to appeal. Cardenas
has not set forth this allegation as a ground for relief, but merely as an explanation for why she did
not appeal. Accordingly, the Court does not treat this as a separate ground for relief.

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bring the claims she raises in her § 2255 motion. United States v. Wilkes, 20 F.3d 651 (5th

Cir. 1994) (enforcing defendant’s voluntary and knowing waiver of § 2255 rights); United

States v. McKinney, 406 F.3d 744 (5th Cir. 2005) (enforcing waiver of appeal rights). It is

clear from the rearraignment recording that Cardenas understood that she was waiving her

right both to appeal (except under certain circumstances) and to file any § 2255 motions, all

that is required for a knowing waiver. See Wilkes, 20 F.3d at 653 (waiver is knowing if

defendant understood he had a right, and understood he was giving it up); see supra at pages

3-4.

        Cardenas’ sworn statements in open court are entitled to a strong presumption of

truthfulness. United States v. Lampaziane, 251 F.3d 519, 524 (5th Cir. 2001) (citing

Blackledge v. Allison, 431 U.S. 63, 74 (1977)); Wilkes, 20 F.3d at 653 (citing Blackledge

for same proposition). Indeed, the Fifth Circuit affords “great weight to the defendant’s

statements at the plea colloquy.” United States v. Cothran, 302 F.3d 279, 283-84 (5th Cir.

2002). Those statements support a finding that Cardenas’ waiver was knowing and voluntary.

        Moreover, Cardenas’ claims fall within the scope of her waiver. They all allege

ineffectiveness of counsel at sentencing. Notably, they do not challenge the validity of her

plea or her waiver. Thus, her claims are not properly before the Court. See generally

Wilkes, supra; White, supra.

        For the foregoing reasons, Cardenas’ motion is barred in its entirety by her waiver and

is therefore DISMISSED WITH PREJUDICE.

C.      Certificate of Appealability

        An appeal may not be taken to the court of appeals from a final order in a habeas

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corpus proceeding “unless a circuit justice or judge issues a certificate of appealability.” 28

U.S.C. § 2253(c)(1)(A). Although Cardenas has not yet filed a notice of appeal, the § 2255

Rules instruct that this Court “must issue or deny a certificate of appealability when it enters

a final order adverse to the applicant.” Rule 11, § 2255 Rules. The Court thus turns to

whether Cardenas is entitled to a COA.

       A COA “may issue...only if the applicant has made a substantial showing of the denial

of a constitutional right.” 28 U.S.C. § 2253(c)(2). “The COA determination under § 2253(c)

requires an overview of the claims in the habeas petition and a general assessment of their

merits.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003).

       To warrant a grant of the certificate as to claims that the district court rejects solely

on procedural grounds, the movant must show both that “jurists of reasons would find it

debatable whether the petition states a valid claim of the denial of a constitutional right and

that jurists of reason would find it debatable whether the district court was correct in its

procedural ruling.” Slack v. McDaniel, 529 U.S. 473, 484 (2000) (emphasis added); see also

United States v. Jones, 287 F.3d 325, 329 (5th Cir. 2002) (applying Slack to COA

determination in context of § 2255 proceedings). It is unnecessary for the Court to decide

whether Cardenas has stated a valid claim for relief, because she cannot establish the second

Slack criterion. That is, reasonable jurists would not disagree that the claims raised in her

motion are barred due to her waiver. Accordingly, Cardenas is not entitled to a COA.




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                                     V. CONCLUSION

      For the foregoing reasons, Cardenas’ motion to vacate, correct, or set aside her

sentence pursuant to 28 U.S.C. § 2255 (D.E. 750) is DISMISSED WITH PREJUDICE.

Cardenas is also DENIED a Certificate of Appealability.


      It is ORDERED this 25th day of June, 2010.



                                      ____________________________________
                                       HAYDEN HEAD
                                       SENIOR U.S. DISTRICT JUDGE




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